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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF DELAWARE


  SAMSUNG ELECTRONICS CO.,                     )
  LTD.,                                        )
                                               )
                            Plaintiff,         )
                                               )
             v.                                ) C.A. No. 15-1059-CFC
                                               )
  IMPERIUM IP HOLDINGS                         )
  (CAYMAN), LTD.,                              )
                                               )
                            Defendant.         )

                                           ORDER

        At Wilmington, this ____ day of ____________________, 202__, it is

  hereby ordered that:

        1.        Imperium shall file its answering brief in opposition to Samsung’s

  motion for preliminary injunction on or before January 8, 2021.

        2.        Samsung shall file its reply brief in support of its motion for

  preliminary injunction on or before January 15, 2021.

        3.        The parties request oral argument on Samsung’s motion for a

  preliminary injunction. The parties propose that, if the Court grants the request for

  oral argument on the motion for a preliminary injunction, the Court consolidate

  oral argument on Samsung’s motion for preliminary injunction and Imperium’s

  motion to transfer (D.I. 100), currently scheduled for January 4,
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  2021. Accordingly, the Court will hear argument on both Samsung’s and

  Imperium’s motions on ___________________ at ____ __.m., 2021. Argument

  shall proceed telephonically. Counsel for Samsung shall coordinate the call and

  email the dial-in information to chambers.




                                               United States District Judge




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